Case 19-15800-amc   Doc   Filed 12/13/23 Entered 12/13/23 14:52:31   Desc Main
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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  IN RE: Gerald Fulton Jr.                               BK NO. 19-15800 AMC
                                   Debtor(s)
                                                         Chapter 13
  Lycaste LLC
                                   Movant                Related to Claim No. 8-1
                  vs.

  Gerald Fulton Jr.
                                   Debtor(s)

  Scott F. Waterman,
                                   Trustee

                        CERTIFICATE OF SERVICE
          RESPONSE TO NOTICE OF FINAL CURE MORTGAGE PAYMENT
  I, Mark A. Cronin of KML Law Group, P.C., certify that I am, and at all times hereinafter
  mentioned was, more than 18 years of age and that on December 13, 2023, I served the above
  captioned pleading, filed in the proceeding on the parties at the addresses shown below:

  Debtor(s)
  Gerald Fulton Jr.                                      Attorney for Debtor(s) (via ECF)
  7100 Pennsylvania Avenue                               David M. Offen, Esq.
  Upper Darby, PA 19082                                  The Curtis Center
                                                         601 Walnut Street
                                                         Suite 160 West
                                                         Philadelphia, PA 19106

                                                         Trustee (via ECF)
                                                         Scott F. Waterman
                                                         2901 St. Lawrence Ave.
                                                         Suite 100
                                                         Reading, PA 19606

  Method of Service: electronic means or first-class mail.

  Dated: December 13, 2023

                                                             /s/ Mark A. Cronin
                                                             Mark A. Cronin Esquire
                                                             Attorney I.D. 58240
                                                             KML Law Group, P.C.
                                                             BNY Mellon Independence Center
                                                             701 Market Street, Suite 5000
                                                             Philadelphia, PA 19106
                                                             215-627-1322
                                                             mcronin@kmllawgroup.com
